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                                                                                         CQURJ
                IN THE UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION                     ^OI9AUE30 PH 1:1,2
UNITED STATES OF AMERICA                                             clerk,.
                                                                          so. S(
             V.                                                  OR 119-018


ZACK GORDON, III; GREGORY
GORDON; and MISTAHOU BATIGA,

        Defendants.




                                        ORDER




        Pending      before   the     Court    is     the   Government's       Motion     to

Partially Dismiss Count Three of the Superseding Indictment.                        (Doc.

129.)    The Government moves to dismiss the portion of Count Three

of the Superseding Indictment pertaining to possession with intent

to distribute marijuana (Schedule I).                  (Doc. 129.)       The Government

also moves to redact any reference to the term "marijuana" from

the Superseding Indictment to avoid confusing the jury.

        Rule 48(a) permits the government to dismiss an indictment or

a portion of an indictment with leave of the court.                       Fed. R. Crim.

P. 48(a); United States, v. Brazel, 102 F.3d 1120, 1142 n.lO (11^^

Cir.    1997)     ("Rule     48(a)    covers    the    dismissal    of   counts     of    an

indictment      as   well    as the    whole.         .The defendant's consent is


not required when the motion is made before the jury is sworn in.

United States v. Del Vecchio, 707 F. 2d 1214, 1216 (11^^ Cir. 1983)

(upholding        district     court's     dismissal        of    indictment       without
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defendant's     consent     when   dismissal    took   place     after    jury   was

selected but before it was sworn).

        Upon consideration, the Court hereby GRANTS the Government's

motion    to    partially    dismiss   Count     Three    of    the   Superseding

Indictment      regarding     Possession       with    Intent    to      Distribute

Marijuana (Schedule I) (Doc. 129.)          The other allegations contained

in Count Three are to remain in effect. The Court further ORDERS


that    the    term   "marijuana"    be    redacted    from     the   Superseding

Indictment to avoid confusing             the jury.      The    Government shall

provide an appropriately redacted Superseding Indictment for trial

purposes prior to jury selection.

       ORDER ENTERED at Augusta, Georgia, this                    day of August,

2019.




                                                         'HALL, yniCF JUDGE
                                             UNIT      :^ATES DISTRICT COURT
                                             SOOT        DISTRICT OF GEORGIA
